Case 6:19-cv-00059-RWS Document 91-1 Filed 05/18/20 Page 1 of 2 PageID #: 1108




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 LONE STAR TECHNOLOGICAL
 INNOVATIONS, LLC,
      Plaintiff,
      v.                                                 Civil Action No. 6:19-CV-00059-RWS
 ASUSTEK COMPUTER INC.,

      Defendants                                         JURY TRIAL DEMANDED




                          DECLARATION OF BRADLEY LIDDLE

I, Bradley Liddle, declare as follows:

           1. I am counsel for Plaintiff Lone Star Technological Innovations, LLC. I submitted
               Lone Star’s Opening Claim Construction Brief and accompanying exhibits. Dkt.
               No. 84. I make this declaration on personal knowledge, and if called as a witness,
               I could and would testify competently thereto.
           2. Attached to Plaintiff’s Opening Claim Construction Brief as Exhibit 5 is a true
               and correct copy of an Adobe published technical document entitled, “Matching
               RGB Color from Monitor to Printer.” The document is publicly available on
               Adobe’s website at
               https://www.adobe.com/content/dam/acom/en/devnet/postscript/pdfs/5122.Match
               RGB.pdf. The document further states that it was copyrighted in 1991-1992 by
               Adobe Systems Incorporated.
           3. This is not the first claim construction proceeding in which Exhibit 5 has been
               used. Plaintiff also introduced Exhibit 5 during a previous claim construction
               hearing -- Lone Star Technological Innovations, LLC v. Acer, et al., Case No. 6-
               15-cv-973-JRG-JDL, Dkt. No. 50 at 22 (used in that case as Exhibit 8). The


                                                1
Case 6:19-cv-00059-RWS Document 91-1 Filed 05/18/20 Page 2 of 2 PageID #: 1109




               document was allowed and considered by the Court during claim construction in
               that case.

           4. Attached to Plaintiff’s Opening Claim Construction Brief as Exhibit 2 is a true
               and correct copy of the Court’s Preliminary Claim Construction in -- Lone Star
               Technological Innovations, LLC v. Acer, et al., Case No. 6-15-cv-973-JRG-JDL.
               This was a chart that was created by the Court and used during the Markman
               hearing. I was personally at the Markman in that case and attest that Exhibit 2 is a
               true and correct copy of the chart the Court handed to the parties in that case.
               Exhibit 2 was referred to in the transcript of the Markman hearing.

I declare under penalty of perjury that the foregoing declaration is true and correct.


Executed on May 18, 2020.


                                              /s/ Bradley Liddle
                                              Bradley Liddle




                                                  2
